         USCA11 Case: 25-11587    Document: 3   Date Filed: 05/27/2025   Page: 1 of 7
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      Ashbry, LLC
      16850 S POST RD #102
      WESTON,FL 33331




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     USCA11 Case: 25-11587             Document: 3            Date Filed: 05/27/2025   Page: 2 of 7


                             UNITED STATES COURT OF APPEALS
                                 FOR THE ELEVENTH CIRCUIT

                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                             56 Forsyth Street, N.W.
                                             Atlanta, Georgia 30303


David J. Smith                                                                         For rules and forms visit
Clerk of Court .                                                                        www.cal 1.uscourts.gov .


                                              May 09,2025

Ashbry, LLC
16850 S POST RD #102
WESTON,FL 33331

Appeal Number; 25-11582-E
Case Style; Freedom Mortgage Corporation v. Ashbry, LLC
District Court Docket No; 1;25-cv-21130-CMA


                                   CIVIL docketing notice

The above-referenced appeal has been docketed in this Court. All documents filed in this appeal
must include the Case Style and Appeal Number shown above.

Appellant Requirements
Unless the following requirements have already been satisfied, within 14 days of the date of
this notice the appellant MUST:

      1. Pay to the District Court the Filing Fee OR File a Motion to Proceed In Forma
         Pauperis ('IFP') in the district court.^FRAP 3(e), FRAP 24. .

           Ifthefilingfee is notpaid and a motion to pnoceed IFP has not beenfiled in the
           district court within 14 days,ofthe date ofthis notice, this appeal will be
            dismissed withoutfurther notice pursuant to 11th Cir. R. 42-1(b).

           Ifthe district court has denied the appellant IFP status on appeal, the appellant
           has 30 daysfrom the date ofthe district court's order tofile an IFP motion in
           this Court. Se^ FRAP 24(a)(5).

      2. File in the District Court a Transcript Order Form or a certificate stating no transcripts
         will be ordered. S^ FRAP 10(b) &'the accompanying 11th Cir. lOP.(Not applicable in
         certain bankruptcy appeals. See FRAP 6(b)).

           Ifno transcripts are ordered, appellant's briefis due 40 days after 05/08/2025,
           except as otherwise provided by the rules.     Ilth Cir. Rules 12-1 and 31-1.
     USCA11 Case: 25-11587            Document: 3      Date Filed: 05/27/2025       Page: 3 of 7



     3. File a Certificate of Interested Persons and Corporate Disclosure Statement TCIPy See
           llthCir.R.26.1-l(a)(l).

     4..   Complete the Web-Based CIP (attorneys only).        11th Cir. R. 26.1-1(b).

     5.    File a Civil Appeal Statement(attorneys only). See 11th Cir. R. 33-l(a)(3). ,

  Mediation .
 If a Civil Appeal Statement is required to be filed md the appeal is fully counseled on all sides,
  your appeal will be reviewed and considered for mediation. Mediation services are at no cost to
  the parties. If no Civil Appeal Statement is required or you or any party to the appeal is self-
  represented or pro se then the appeal is not eligible for mediation. S^ 11th Cir. R. 33-1.

  Appellee Requirements
  Unless the following requirements have already been satisfied, within 28 days of the date of
  this notice, all appellees participating in this appeal MUST:

     1. File a CIP or a notice. S^ 11th Ch- R- 26.1-l(a)(3).

     2. Complete the Web-Based CIP (attorneys only).           11th Cir. R. 26.1-l(b).

  Attorney Participation
  Only attorneys admitted to the bar ofthe Court and attorneys admitted for a particular
  proceeding may practice before the Court.^11th Cir. Rules 46-1, 46-3, and 46-4. You may
  look up your bar admission status at https://www.cal 1.uscourts.gov/bar-admission-status-look.
  The Application for Admission to the Bar and other forms and information can be found at
  https://www.cal 1.uscourts.gov/attomev-forms-and-information.

. All attorneys(except court-appointed attorneys) who wish to participate in this appeal must file
  an Appearance of Counsel Form within 14 days ofthe date ofthis notice. See 11th Cir. R. 46-
  6(b). Please also see FRAP 46 and the corresponding circuit rules.

  Electronic Filina
  All counsel must file documents electronically using the Electronic Case Files("ECF")system,
  unless exempted for good cause. Although not required, non-incarcerated pro se parties are
  permitted to use the ECF system by registering for an account at www.pacer.gov. Information
  and training materials related to electronic filing are available on the Court's website.

  Obligation to NotifV Court of Change of Addresses
  Each pro se party and attorney has a continuing obligation to notify this Court of any changes to
  the party’s or attorney’s addresses during the pendency ofthe case. See 11th Cir. R. 25-7.
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Additional Information
Rules,fobns, and additional information, including a handbook for pro se litigants, can be
found at www.cal 1.uscourts.gov.

Clerk's Office Phone Numbers
General Information:     404-335-6100     Attorney Admissions:           404-335-6122
Case Administration:     404-335-6135     Capital Cases;               404-335-6200 .
CM/ECF Help Desk: 404-335-6125            Cases Set for Oral Argument: 404-335-6141




                                                                   CIVIL - Notice of Docketing
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                            UNITED STATES COURT OF APPEALS
                                FOR THE ELEVENTH CIRCUIT

                               ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                            56 Forsyth Street, N.W..
                                            Atlanta, Georgia 30303

 David J. Smith                                                                            For rules and.forms visit
 Clerk of Court                                                                            www.cal 1.uscourts.gov



                                             May 09, 2025

  Ashbry, LLC
  16850 S POSTED #102
  WESTON,FL 33331

  Appeal Number: 25-11587-E
  Case Style: Freedom Mortgage Corporation v. Ashbry, LLC
  District Court Docket No: l:25-cv-21130-CMA
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  Electronic Filing
  All counsel must file documents electronically using the Electronic Case Files("ECF")system,
  unless exempted for good cause. Although not required, non-incarcerated pro se parties are
  permitted to use the ECF system by registering for an account at www.Dacer.gov. Information
‘ and training materials related to electronic filing are available on the Court's website.

  Please use the appeal number for all filings in this Court.

  Representation by a Licensed Attorney Required
  A corporation or other artificial entity must be represented by a licensed attorney in this Court.
  See Palazzo v. GulfOil, 764 F.2d 1381, 1385 (11th Cir. 1985). Counsel must appear on,behalf
  ofthe corporation within 30 days after the date of this letter. If counsel does not appear, and the
  corporation is an appellee, the corporation will not be able to participate in the appeal. If
  counsel does not appear, and the corporation is an appellant, the appeal may be dismissed as to
  that corporation.                                                                    \


  If the Court granted a motion to withdraw as counsel for the corporation, withdrawing counsel
  must provide a copy ofthis letter to the corporation.

  Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
  this court or for this particular proceeding,^11th Cir. R.46-1; 46-3; 46-4. In addition, all
  attorneys (except court-appointed attorneys) who wish to participate in this appeal must file an
  appearance form. The Application for Admission to the Bar and Appearance of Counsel Form
  are available on thejCourt's website. The clerk generally may not process filings from an
  attorney until that attorney files an appearance form.                11th Cir. R.46-6(b).

  Clerk's Office Phone Numbers
  General Information:    404-335-6100         Attorney Admissions:                404-335-6122
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Case Administration:   404-335-6135   Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125        Cases Set for Oral Argument: 404-335-6141




                                                                         Palazzo Letter
                  USCA11 Case: 25-11587   Document: 3   Date Filed: 05/27/2025        Page: 7 of 7
UNITED STATES COURT OF APPEALS                          ATLANTA GA KPL^                         US POSTAGE wiPfTNEY BOWES
       ELEVENTH CIRCUIT
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